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                         United States Bankruptcy Court
                          Eastern District of Louisiana


In re:                                                           Case No. 18-13335
                                                                        Chapter 13
EUGENE BARON SCHWING, JR.                                                Section B
239 DILTON ST
NEW ORLEANS LA 70123

                                        ORDER


Considering the Ex Parte Motion to Withhold Earnings and Pay
Trustee (P-18), it is ordered, adjudged and decreed that

THIRD DIST FIRE DEPT
10415 JEFFERSON HWY
NEW ORLEANS LA 70123

deduct from the earnings of its employee EUGENE BARON SCHWING, JR.
the sum of $2,050.00 MONTHLY (see formula below to determine deduction per pay
period) and is further ordered to remit said sum deducted with the
debtor's case number, 18-13335, printed on all checks or vouchers,
to:

S.J. BEAULIEU, JR., TRUSTEE
P.O. BOX 113
MEMPHIS, TN 38101

(Divide monthly payment amount by pay period frequency)

Semi-monthly      2
Bi-weekly         2.1667
Weekly            4.3333



This order remains in force until the Court orders otherwise, and
supersedes any previous order to the subject employer in this case.

IT IS FURTHER ORDERED that movant shall serve this order on the
required parties who will not receive notice through the ECF system
pursuant to the FRBP and the LBRs and file a certificate of
service to that effect within three (3) days.

New Orleans, Louisiana, December 18, 2018.



                                           Hon. Jerry A. Brown
                                           U.S. Bankruptcy Judge
